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Pro Defendente


              IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION
 UNITED STATES OF AMERICA,               Case No. CR 18-14-GF-BMM


              Plaintiff,
                                            NOTICE OF APPEARANCE

 v.

 STANLEY PATRICK WEBER,

                   Defendants.
      Nicole L. Siefert and the law firm of Rhoades Siefert & Erickson PLLC

hereby give notice of their appearance in this case on behalf of Defendant,

Stanley Patrick Weber.

       Counsel hereby requests all correspondence, motions, pleadings,

court filings, and other documentation be served upon the following

address:
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     DATED this 5th day of March, 2018.

                Respectfully Submitted,
                RHOADES SIEFERT & ERICKSON PLLC



                By: /s/ Nicole L. Siefert
                      Nicole L. Siefert
                      Pro Defendente




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                      CERTIFICATE OF SERVICE

I hereby certify that on the 5th day of March, 2018, I electronically filed the
foregoing motion with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to all parties entered in the case.


                        By: /s/ Nicole L. Siefert
                        Nicole L. Siefert




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